
PER CURIAM.
This matter is before the Court on Petition for Approval of Conditional Guilty Plea for Consent Judgment and Entry of Final Order of Discipline to violations of Disciplinary Rules 1-102(A)(1), (5), &amp; (6), 2-106(E), 6 — 101(A)(3), 7-101(A)(2) &amp; (3), and 9-102(B)(3) of the Code of Professional Responsibility and article XI, Rules 11.02(2) and 11.02(4) of the Integration Rule of The Florida Bar. We approve the Petition, and we hereby reprimand Respondent, Joseph C. Brannen, for these violations. The publication of this order in Southern Reporter shall serve as Respondent’s public reprimand.
Costs in the amount of $958.25 are hereby taxed against the Respondent.
It is’so ordered.
ADKINS, Acting C.J., and BOYD, OVERTON, MCDONALD and EHRLICH, JJ., concur.
